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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                           Case No. 22MJ1779 GBW

ANTONIO ORLANDO ROMERO,

        Defendant.

                     WAIVER OF PRELIMINARY HEARING,
          WAIVER OF PERSONAL PRESENCE AT PRELIMINARY HEARING,
            REQUEST FOR TOLLING OF GRAND JURY PRESENTMENT,
                    AND WAIVER OF DETENTION HEARING

       1. I am the attorney of record for the defendant in this criminal proceeding.

       2. I have explained to the defendant that he is entitled to a preliminary hearing. My client

has agreed to waive his right to that hearing. My client has also agreed to waive the right to have

this case presented to a grand jury within thirty (30) days of arrest pursuant to 18

U.S.C. §3161(b) in exchange for the following:

                 [ x ] Pre-indictment discovery


                 [ x ] Pre-indictment plea negotiations

        3. I have explained to the defendant his right to have this case presented to a grand

 jury within thirty (30) days of arrest pursuant to 18 U.S.C. §3161(b).

        4. Based on my explanation, my client hereby requests a tolling of grand jury

 presentment pursuant to 18 U.S.C. §3161(h)(7)(A) for an additional period not to exceed 75 days

 from the date of arrest for a total of 105 days. My client understands this request means there be
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75-day period of excludable time for the purposes of determining compliance with the speedy

indictment provision of 18 U.S.C. §3161(b). My client further requests that an Order be entered

providing that this time period shall be tolled and excluded from the speedy indictment time

computation pursuant to 18 U.S.C. §3161(h)(7)(A).

        5. I have explained to the defendant that if an agreement cannot be reached with the

United States Attorney’s Office, the case will be presented to a grand jury at a later date,

consistent with this waiver.

        6. I have explained to the defendant that he is entitled to personally appear before the

Court at every stage of criminal proceedings, including the preliminary hearing.

        7.   I have explained to the defendant that he is entitled to a detention hearing.

        8. I have advised the defendant that at a detention hearing, the court will hear evidence

to determine whether he should be held in jail without bond or whether a bond should be set in

this case.

        9. I have advised the defendant that by waiving the right to a detention hearing, he will

be held in jail without bond until this matter is resolved.

      10. Based on my explanation, my client waives his right to a detention hearing.

      11. After having reviewed this form together, my client requests that the Court waive his

personal appearance at the Preliminary Hearing and Detention Hearing and instead allow

undersigned counsel to sign this Waiver of Preliminary Hearing, Waiver of Personal Presence at

Preliminary Hearing, Request for Tolling of Grand Jury Presentment, and Waiver of Detention

Hearing on his behalf.

                                                       __________________________, AFPD on behalf of:
                                                       Antonio Orlando Romero
                                                       Defendant
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        I have reviewed the foregoing document in (English/Spanish) with my client and
represent to the Court that he/she understands it. I have been authorized by my client to sign this
waiver on his/her behalf. I further represent to the Court that I believe it is in my client’s best
interest to agree to the contents of this document. I affirm that my client has made this request
voluntarily and knowingly after having asked me any questions that he/she may have had about
this waiver.

                                                     ___________________________
                                                     Amanda Skinner
                                                     Attorney for Defendant

                                                          1/30/22
                                                     _______________________
                                                     Date
